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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


BROOKE BOONE,                                        )
                                                     )
       Plaintiff,                                    )
                                                     )
v.                                                   )     Civil Action No. 1:20-cv-2863
                                                     )
HOSPIRA INC. and HOSPIRA WORLDWIDE,                  )
LLC, formerly doing business as HOSPIRA              )
WORLDWIDE, INC.,                                     )

       Defendants.


       DEFENDANTS HOSPIRA, INC.’S AND HOSPIRA WORLDWIDE, LLC’S
                CORPORATE DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Defendants Hospira, Inc. and Hospira

Worldwide, LLC f/k/a Hospira Worldwide, Inc. advise that Hospira Worldwide, LLC is a

Delaware limited liability company. The sole member of Hospira Worldwide, LLC is Hospira,

Inc. Hospira, Inc. is indirectly owned by Pfizer Inc., a publicly-held corporation that has no

parent corporation. No publicly-held corporation owns 10% or more of the stock of Pfizer Inc.

DATED: May 12, 2020                          Respectfully submitted,

                                             /s/ Sara B. Roitman
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                                             Attorneys for Hospira, Inc. and Hospira
                                             Worldwide, LLC, f/k/a Hospira Worldwide, Inc.
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                               CERTIFICATE OF SERVICE

I hereby certify that on May 12, 2020, a true and correct copy of the foregoing document was

served by U.S. Mail upon the following:

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Attorney for Plaintiff




                                               By: /s/ Sara Roitman
